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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )          Case No. 8:03CR446-2
                         Plaintiff,              )
                                                 )
       vs.                                       )          TENTATIVE
                                                 )          FINDINGS
SINNDY DEIVY PANDURO,                            )
                                                 )
                         Defendant.              )

        I am in receipt of the revised presentence investigation report and addendum, and the
parties’ objections, in this case.

       IT IS ORDERED that:

        (1)    The undersigned will consult and follow the Guidelines to the extent permitted
and required by United States v. Booker, 543 U.S. 220(2005) and subsequent cases. See, e.g.,
Gall v. U.S., --- S.Ct. ----, 2007 WL 4292116 (2007). In this regard, the undersigned gives
notice that, unless otherwise ordered, he will (a) give the advisory Guidelines such weight as
they deserve within the context of each individual case and will filter the Guidelines' general
advice through §3553(a)'s list of factors1; (b) resolve all factual disputes relevant to sentencing
by the greater weight of the evidence and without the aid of a jury; (c) impose upon the
government the burden of proof on all Guideline-enhancements; (d) impose upon the defendant
the burden of proof on all Guideline-mitigators; (e) depart from the advisory Guidelines, if
appropriate, using pre-Booker departure theory; and (f) in cases where a departure using pre-
Booker departure theory is not warranted, deviate or vary from the Guidelines when there is a
principled reason which justifies a sentence different than that called for by application of the
advisory Guidelines. 2

       (2)    The parties’ objections (filings nos. 149 and 150) regarding the absence of a 3
point base offense level reduction under U.S.S.G. § 2D1.11(b)(2) (applicable “unless the
defendant knew or believed that the listed chemical was to be used to manufacture a controlled

       1
           However, I will no longer give the Guidelines “substantial weight.”
       2
           See note 1.
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substance unlawfully”) will be taken up at sentencing. The parties are requested to research
and brief this issue. As it stands now, the undersigned tends to agree with the probation officer
that the circumstances of the crime strongly suggest that the defendant actually knew and
actually believed that the listed chemical was to be used to manufacture a controlled substance
unlawfully.

       (3)    Except to the extent (if at all) that I have sustained an objection or granted a
motion or reserved an issue for later resolution in the preceding paragraph, the parties are
herewith notified that my tentative findings are that the presentence report is correct in all
respects.

        (4)     If any party wishes to challenge these tentative findings, said party shall, as soon
as possible, but in any event at least five (5) business days before sentencing, file in the court
file and serve upon opposing counsel and the court a motion challenging these tentative
findings, supported by (a) such evidentiary materials as are required (giving due regard to the
requirements of the local rules of practice respecting the submission of evidentiary materials),
(b) a brief as to the law and (c) if an evidentiary hearing is requested, a statement describing
why an evidentiary hearing is necessary and how long such a hearing would take.

        (5)   Absent submission of the information required by the preceding paragraph of this
order, my tentative findings may become final and the presentence report may be adopted and
relied upon by me without more.

       (6)     Unless otherwise ordered, any motion challenging these tentative findings shall
be resolved at sentencing.

       June 1, 2011.

                                                 BY THE COURT:
                                                 Richard G. Kopf
                                                 United States District Judge




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